       Case 2:08-cr-00231-EEF-SS        Document 1660         Filed 11/17/16     Page 1 of 5




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                                  *                 CRIMINAL
                                                          *                 DOCKET
                                                          *
VERSUS                                                    *                 NO. 08-231
                                                          *
                                                          *
WALLACE THOMPSON                                          *                 SECTION "L”


                                     ORDER & REASONS

         Pending before the Court is Petitioner Wallace Thompson’s Motions to Reduce Sentence

pursuant to USSC Amendment 782. R. Docs. 1570, 1592. The Court has reviewed the briefs and

the applicable law and now issues this Order and Reasons.

  I.     BACKGROUND

         These Motions seek to reduce Defendant’s sentence after he was convicted for his role in

a drug conspiracy. R. Docs. 1570, 1592. In 2007, the Federal Bureau of Investigation initiated an

investigation into the drug trafficking activities of co-defendant Jermaine Winchester along with

others who conspired with him. R. Doc. 734. During the course of the investigation, agents

intercepted thousands of phone calls using a court-approved Title III wiretap, which implicated

Thompson in the conspiracy as a principal supplier of “multiple kilograms of powder cocaine.” Id.

         A federal grand jury returned a second superseding indictment on February 26, 2010,

charging Thompson, along with several other individuals, in a conspiracy to distribute and possess

with intent to distribute 50 grams or more of cocaine base crack, five kilograms or more of cocaine

hydrochloride and a quantity of marijuana. R. Doc. 538.




                                                1
    Case 2:08-cr-00231-EEF-SS           Document 1660        Filed 11/17/16     Page 2 of 5




       In July of 2010, the Government gave notice it intended to introduce evidence that

Thompson was pulled over by officials in Orange County where they discovered $33,000.00 inside

the vehicle and that in 2006 Thompson was involved in an incident in Houston, Texas where a

certain amount of money was stolen from his truck. See R. Doc. 712. On July 29, 2010, Thompson

pled guilty to count one of the second superseding indictment. He signed a written factual basis

which alleged he was responsible for “at least 15 kilograms but less than 50 kilograms of cocaine

hydrochloride.” R. Doc. 734. The factual basis included information about the Orange County and

Houston, Texas incidents, including that the amount stolen from Thompson’s truck was $270,000.

Thompson signed a Rule 11(c)(1)(C) plea agreement, which recommended a specific sentencing

range of 180 months to life imprisonment. R. Doc. 733.

       Sentencing took place on January 6, 2011. Thompson filed a sentencing memorandum

requesting a rejection of his plea agreement and a downward department or variance to his

sentence. R. Doc. 934. Specifically, he contended that the Government breached the plea

agreement by using immunized statements against him in order to increase the amount of drugs

attributed to him, which ultimately affected his sentencing. R. Doc. 934 at 3. As such, Thompson

requested this Court to reject his 11(c)(1)(C) plea agreement based on the alleged breach. This

Court denied Thompson’s request and accepted the plea agreement and found that the

Government’s recommended sentencing was based on information “properly based on the

investigative resources prior to the Defendant’s debriefing.” R. Doc. 1064. This Court sentenced

Thompson to 180 months imprisonment. R. Doc. 932.

       Thompson was granted appellate review of this Court’s decision. Applying general

principles of contract law to the plea agreement, the United States Court of Appeals for the Fifth

Circuit held that the Government’s conduct was consistent with Thompson’s reasonable



                                                2
       Case 2:08-cr-00231-EEF-SS           Document 1660          Filed 11/17/16      Page 3 of 5




understanding of the agreement. United States v. Thompson, 456 Fed. Appx. 508, 510-11 (5th Cir.

2012). In particular, the Fifth Circuit, reviewing this Court’s decision for clear error, found that

Thompson failed to meet his burden of demonstrating, by a preponderance of the evidence, that

the Government breached the agreement. Id. Specifically, the Court found that the use of

information pertaining to the theft in Houston and confiscation in Orange County to increase the

amount of drugs attributed to Thompson for sentencing was not inconsistent with the parties’

reasonable understanding of the agreement, because the plea agreement explicitly referred to that

information as the basis for the agreed-upon sentence. See id. Further, the Court found that

Thompson had not proven that this information was obtained by the Government solely through

his debriefing. Id. The Court elaborated on this finding:

         As for the $33,000 found in Thompson’s truck, the Government’s notice of intent
         stated the money was “inextricably intertwined with the charged conspiracy,” and
         the factual basis specifically identified the money as “[o]ther evidence of drug
         trafficking.” As for the money stolen form Thompson in Houston, the notice
         provided that the money was intended to be used for purchasing cocaine. The
         factual basis provided further details of the incident, stating that it occurred in 2006
         and that the amount stolen was $270,000. Moreover, Thompson’s counsel verified
         that the Government had such information during pre-plea negotiations. Finally,
         the pre-sentence investigation report outlined various other sources of information
         regarding Thompson’s activities, including other defendants and wiretapped
         conversations.

Id. Concluding that “Thompson [had] not demonstrated that the disputed information was solely

provided by him during debriefing,” the Fifth Circuit affirmed this Court. Id. at 511.

 II.     PRESENT MOTION

         Thompson has filed two Motions to Reduce his sentence pursuant to 18 U.S.C. § 3582

(c)(2). R. Docs. 1570, 1592. Thompson advances three arguments in support of his position. First,

he alleges that he was sentenced to 180 months, which was above his applicable guideline range

of 108-135 months and above the 120 months included in his plea agreement. R. Doc. 1570 at 2.



                                                    3
       Case 2:08-cr-00231-EEF-SS         Document 1660         Filed 11/17/16      Page 4 of 5




Second, he contends that he is entitled to a 2-point reduction pursuant to Amendment 782. R. Doc.

1570 at 2. According to Defendant, if this reduction is applied, his new guideline range would be

108-135 months, and this Court should resentence him to a prison term of 108-120 months. R.

Doc. 1570 at 2. Third, Thompson argues that he has taken advantage of educational opportunities

while incarcerated, and maintains a close relationship with his family, and this is “uniquely

qualified” for a reduction. R. Doc. 1570 at 2-3.

III.     LAW & ANALYSIS

         Title 18 U.S.C. § 3582(c)(2) provides that a court may modify a term of imprisonment “in

the case of a defendant who has been sentenced to a term of imprisonment based on a sentencing

range that has subsequently been lowered by the Sentencing Commission.” However, that

provision is not applicable here. See United States v. Williams, 609 F.3d 368, 372–73 (5th Cir.

2010) (“A review of the plea agreement, sentencing record, and applicable guidelines demonstrates

that [the Defendant’s] sentence was not “based on” the subsequently amended crack-offense

guidelines.”) Here, Thompson was not sentenced based solely on his guideline range, but pursuant

to a Rule 11(c)(1)(C) plea agreement, which recommended a specific sentencing range of 180

months to life imprisonment. See R. Doc. 1066 at 46, ¶ 238. In accepting the agreement and issuing

the sentence of 180 months, the Court reviewed the plea agreement, the facts of the case, as well

as the sentencing memorandum. Transcript of January, 6, 2011 Sentencing Proceedings at 22,

United States v. Thompson, No. 08-231. “While the guidelines range may have affected the plea

negotiations, [the Fifth Circuit has] never held that such a tenuous connection is sufficient to

establish that a defendant's ultimate sentence was in fact “based on” the Guidelines, as that term is

used in § 3582(c).” United States v. Williams, 609 F.3d 368, 373 (5th Cir. 2010). Therefore, the

Defendant is not entitled to a reduction pursuant to 28 U.S.C. § 3582(c).



                                                   4
      Case 2:08-cr-00231-EEF-SS       Document 1660       Filed 11/17/16   Page 5 of 5




IV.     CONCLUSION

        For the foregoing reasons, IT IS ORDERED that Thompson’s Motions to Reduce his

Sentence, R. Docs. 1570 and 1592, pursuant to 28 U.S.C. § 3582(c) are DENIED.


        New Orleans, Louisiana, this 17th day of November, 2016.




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                                                                      ELDON E. FALLON
                                                       UNITED STATES DISTRICT JUDGE




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